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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 FRANCISCO ROSELL,

 Plaintiff,

 vs.                                                  Case No.: 10-24043-CV-LENARD/TURNOFF

 PENNCRO ASSOCIATES, INC.

 Defendants.
 ______________________________________/


                                   NOTICE OF SETTLEMENT

           Plaintiff, FRANCISCO ROSELL, (hereinafter referred to as “Plaintiff”), through

 undersigned counsel, hereby notifies the Court that a settlement has been reached in the instant

 matter.



 Dated: February 11, 2011                      Respectfully submitted,

                                               /s Andrew I. Glen
                                               Andrew I. Glenn
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                                               Attorneys for Plaintiff




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                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 11, 2011, I electronically filed the foregoing

 document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

 being served this day on all counsel of record identified on the attached Service List in the

 manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

 or in some other authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Filing.



                                               /s Andrew I. Glenn
                                               Andrew I. Glenn




                                          SERVICE LIST


 Penncro Associates, Inc.
 95 James Way, Suite 113
 Southampton, PA 18966
 Served via Regular U.S. Mail




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